Case 19-61608-grs           Doc 476       Filed 04/24/20 Entered 04/24/20 15:47:23                     Desc Main
                                         Document      Page 1 of 11


                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION


In Re:                                                       )                Case No. 19-61608
                                                             )
Americore Holdings, LLC, et al.1                             )                Jointly administered
                                                             )
                          Debtors.                           )                Chapter 11
                                                             )

                                      CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the Order Authorizing Employment of Baker

& Hostetler LLP as Bankruptcy Counsel to the Chapter 11 Trustee Effective as of February 21,

2020 (Doc. No. 377) has been served electronically to those parties receiving electronic notice via

the Court’s CM/ECF system on March 18, 2020. I further certify that a true and correct copy of

the Order Authorizing Employment of Baker & Hostetler LLP as Bankruptcy Counsel to the

Chapter 11 Trustee Effective as of February 21, 2020 was serviced via first-class, postage prepaid

U.S. Mail, via facsimile transmission, or via email on April 24, 2020, to those parties listed on the

attached Master Service List.

         RESPECTFULLY SUBMITTED this 24th day of April 2020.

                                                                 /s/ Tiffany Payne Geyer
                                                                 Tiffany Payne Geyer
                                                                 Fla. Bar. No. 421448
                                                                 Baker & Hostetler LLP
                                                                 200 South Orange Ave.
                                                                 Suite 2300
                                                                 Orlando, FL 32801
                                                                 Tel. 407-649-4079
                                                                 Fax: 407-841-0168

1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises, LLC
(3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood Medical
Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC(3388);
Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital Corporation #1
(2766).
Case 19-61608-grs   Doc 476    Filed 04/24/20 Entered 04/24/20 15:47:23      Desc Main
                              Document      Page 2 of 11


                                             tpaynegeyer@bakerlaw.com

                                             Counsel to Chapter 11 Trustee




                                       2
4851-0756-7291.1
Case 19-61608-grs            Doc 476
                                 425    Filed 04/24/20
                                              04/03/20 Entered 04/24/20
                                                                 04/03/20 15:47:23
                                                                          14:53:51       Desc Main
                                       Document      Page 3 of 11



          In re: Americore Holdings, LLC, et al. – Master Service List
                                 April 3, 2020
                                The United States Trustee (via CM/ECF)

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Lexington, KY 40507
Email: john.daugherty@usdoj.gov

Bradley M. Nerderman
100 E. Vine St. #500
Lexington, KY 40507
Email: Bradley.Nerderman@usdoj.gov

                                       The Debtors (via US Mail)

Americore Holdings, LLC, et al.
3933 S. Broadway
Saint Louis, MO 63118

                                   Chapter 11 Trustee (via CM/ECF)

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Fort Lauderdale, FL 33301-1943
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                   All Secured Creditors (See Individual Entity for Manner of Service)

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c/o Michael E. Lewitt                                  c/o Bibin Mannattuparampil Geraci LLP
85 N. Congress Avenue                                  90 Discovery
Delray Beach, FL 33445                                 Irvine, CA 92618
mlewitt@thirdfriday.com                                Fax: (949) 379-2610
(via Email)                                            (via Fax)

Pelorus Fund, LLC                                      Penn Med LLC
c/o Pelorus Equity Group, Inc.                         c/o Jeffery P. Meyers
124 Tustin Avenue, Suite 200                           Myers Law Group LLC
Newport Beach, CA 92663                                17025 Perry Highway
Fax: (949) 281-3847                                    Warrendale, PA 15086
(via Fax)                                              (via CM/ECF)




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4827-8267-7689.4
Case 19-61608-grs      Doc 476
                           425    Filed 04/24/20
                                        04/03/20 Entered 04/24/20
                                                           04/03/20 15:47:23
                                                                    14:53:51        Desc Main
                                 Document      Page 4 of 11


Toby Mug Financing, LLC                          Gibbs Technology Leasing – HG1, LLC
c/o Roger Herman                                 3236 West Edgewood Road, Suite A
Rosenblum Boldenhersh                            Jefferson City, Missouri 65109
7733 Forsyth Blvd., Suite 400                    hgibbs@gptlaw.net
St. Louis, MO 63105                              sarah@gptlaw.net
Fax: (314) 726-6786                              (via Email)
(via Fax)
                                                 HOP Capital
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One Dell Way                                     Sunny Isles Beach, Florida 33160
Mail Stop – PS2DF-23                             joe@jopcapitalllc.com
Round Rock, TX 78682                             (via Email)
Fax: (512) 283-2664
(via Fax)                                        EIN CAP, Inc.
                                                 160 Pearl Street, Floor 5
Air Liquide Healthcare America Corp.             New York, NY 10005
c/o Capital Services, Inc.                       (via US Mail)
1675 S. State Street, Suite B
Dover, DE 19901                                  HMFCG Inc.
Fax: (800) 432-3622                              368 New Hemstead Rd.
(via Fax)                                        New City, NY 10956
                                                 (via US Mail)
APP Group International, LLC
85 Broad Street, 75th Floor                      Med One Capital Funding, LLC
New York, NY 10004                               10712 South 1300 East
(via US Mail)                                    Sandy, UT 84094
                                                 Fax: (800) 468-5528
Corporation Services Company                     (via Fax)
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(via Fax)                                        Laguna Hills, CA 92653
                                                 (via US Mail)
CT Corporation Systems
Attn: SPRS                                       Republic Bank
330 N. Brand Blvd., Suite 700                    1560 So. Renaissance Towne Dr.
Glendale, CA 91203                               Suite 260
Fax: (818) 662-4141                              Bountiful, UT 84010
(via Fax)                                        Fax: (502) 560-8633
                                                 (via Fax)
BQR Capital, LLC
c/o Pelorus Equity Group, Inc.
124 Tustin Avenue, Suite 200
Newport Beach, CA 92663
Fax: (949) 281-3487
(via Fax)


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4827-8267-7689.4
Case 19-61608-grs      Doc 476
                           425     Filed 04/24/20
                                         04/03/20 Entered 04/24/20
                                                            04/03/20 15:47:23
                                                                     14:53:51      Desc Main
                                  Document      Page 5 of 11


Titan Loan Servicing, LLC                         The McNee Family Trust Dated 1/17/08
c/o Pelorus Equity Group, Inc.                    c/o Pelorus Equity Group, Inc.
124 Tustin Avenue                                 124 Tustin Avenue, Suite 200
Suite 200                                         Newport Beach, CA 92663
Newport Beach, CA 92663                           Fax: (949) 281-3847
(via US Mail)                                     (via Fax)

Smart Business                                    Trust of R. and G. Glitz Dated 12/11/07
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Miami, FL 33138                                   124 Tustin Avenue, Suite 200
(via US Mail)                                     Newport Beach, CA 92663
                                                  Fax: (949) 281-3847
Koven Omens Trust Dated June 26, 2015             (via Fax)
c/o Pelorus Equity Group, Inc.
124 Tustin Avenue
Suite 200
Newport Beach, CA 92663
Fax: (949) 281-3847
(via Fax)


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d/b/a Baxter Regional Medical Center
c/o Nicole Vaccarella                             Western Healthcare, LLC.
624 Hospital Dr.                                  c/o John Burger
Mountain Home, AR 72653                           13155 Noel Rd.
nvaccarella@baxterregional.org                    Suite 200
                                                  Dallas, TX 75240
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                                              3
4827-8267-7689.4
Case 19-61608-grs     Doc 476
                          425       Filed 04/24/20
                                          04/03/20 Entered 04/24/20
                                                             04/03/20 15:47:23
                                                                      14:53:51   Desc Main
                                   Document      Page 6 of 11


Midwest Emergency Services                         Dinakar Golla, M.D.
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Internal Revenue Service
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Philadelphia, PA 19101

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                                               4
4827-8267-7689.4
Case 19-61608-grs        Doc 476
                             425    Filed 04/24/20
                                          04/03/20 Entered 04/24/20
                                                             04/03/20 15:47:23
                                                                      14:53:51      Desc Main
                                   Document      Page 7 of 11


              Departments of Revenue (See Individual Entity for Manner of Service)

Arkansas Department of Finance and                 Missouri Department of Revenue
Administration                                     Bankruptcy Unit
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Little Rock, AR 72201                              301 West High Street
Fax: (501) 682-3287                                Jefferson City, MO 65105
(via Fax)                                          Fax: (573) 522-1722
                                                   (via Fax and US Mail)
Kentucky Department of Revenue
Legal Branch – Bankruptcy Section                  Pennsylvania Department of Revenue
P.O. Box 5222                                      c/o Pennsylvania Attorney General, Nancy
Frankfort, KY 40602                                Walker
Fax: (502) 564-8192                                Strawberry Square
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                                               5
4827-8267-7689.4
Case 19-61608-grs     Doc 476
                          425     Filed 04/24/20
                                        04/03/20 Entered 04/24/20
                                                           04/03/20 15:47:23
                                                                    14:53:51       Desc Main
                                 Document      Page 8 of 11


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                                             6
4827-8267-7689.4
Case 19-61608-grs       Doc 476
                            425    Filed 04/24/20
                                         04/03/20 Entered 04/24/20
                                                            04/03/20 15:47:23
                                                                     14:53:51       Desc Main
                                  Document      Page 9 of 11


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                                               7
4827-8267-7689.4
Case 19-61608-grs        Doc 476
                             425    Filed 04/24/20
                                          04/03/20 Entered 04/24/20
                                                            04/03/20 15:47:23
                                                                     14:53:51      Desc Main
                                   Document     Page 10 of 11


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                                                   Email: ra-li-ucts-bankrupt@state.pa.us
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skoenig@sakmgmt.com                                szuber@csglaw.com
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                                               8
4827-8267-7689.4
Case 19-61608-grs   Doc 476
                        425    Filed 04/24/20
                                     04/03/20 Entered 04/24/20
                                                       04/03/20 15:47:23
                                                                14:53:51   Desc Main
                              Document     Page 11 of 11


Office of Unemployment Compensation
Tax Service
Dept of Labor and Industry
Commonwealth of PA
Collection Support Unit
651 Boas Street, Room 925
Harrisburg, PA 17121-0751
(via US Mail)




                                          9
4827-8267-7689.4
